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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION


                        CASE NO.: 6:22-cv-01001-WWB-GJK

WINDY LUCIUS,

       Plaintiff,
v.

KABOOKI SUSHI LLC
and KABOOKI SUSHI II LLC

     Defendant.
__________________________________/

               NOTICE OF SETTLEMENT FOR ALL PARTIES

       Plaintiff, WINDY LUCIUS (“Plaintiff”), hereby files this Notice of

Settlement, and informs the Court as follows:


     1. Plaintiff has reached an agreement with Defendant, KABOOKI SUSHI LLC

       and KABOOKI SUSHI II LLC (“Defendant”) to resolve her claims against

       them.

     2. The parties are in the process of finalizing a confidential settlement

       agreement, and Plaintiff will be filing a Stipulation of Dismissal with the

       Court shortly.



                                      Respectfully submitted,
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                                  /s/ J. Courtney Cunningham

                                  J. Courtney Cunningham, Esq.
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                  CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on June 27, 2022, I electronically filed the
foregoing document with the Clerk of the Court using the CM/ECF system.

                                  /s/ J. Courtney Cunningham
                                  J. Courtney Cunningham, Esq.




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